            Case 1:16-cv-01492-EGS Document 30 Filed 09/19/19 Page 1 of 4




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 Counsel for Plaintiffs


                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLUMBIA


Matthew Green, Andrew Huang, and            )
Alphamax, LLC,                              )         Civil Case No. 16-cv-01492-EGS
                                            )
                Plaintiff,                  )
                                            )         PLAINTIFFS’ MOTION FOR
       v.                                   )         PRELIMINARY INJUNCTION
                                            )         PURSUANT TO FED. R. CIV. P. 65(a)
U.S. Department Of Justice, William Barr,   )
                                            )         Judge: Emmet G. Sullivan
Library Of Congress, Carla Hayden,          )
U.S. Copyright Office, and                  )
Karyn A. Temple,                            )
                                            )
                Defendants.                 )
                                            )
                                            )


       Plaintiffs Matthew Green, Andrew “bunnie” Huang, and Alphamax, LLC (“Alphamax”,

collectively “Plaintiffs”), by and through counsel and pursuant to Federal Rule of Civil

Procedure 65(a), respectfully move for a preliminary injunction that enjoins defendants U.S.

Department of Justice and Attorney General William Barr from enforcing the Digital Millennium
                                                -1-
MOT. FOR PRELIMINARY INJUNCTION
CASE NO. 16-CV-01492-EGS
            Case 1:16-cv-01492-EGS Document 30 Filed 09/19/19 Page 2 of 4




Copyright Act (DMCA)’s criminal prohibitions on circumvention and trafficking, 17 U.S.C. §

1201(a), and enjoins defendant Carla Hayden to grant exemptions that would allow Plaintiffs and

others to engage in conduct protected by the First Amendment. Pursuant to Local Civil Rule

7(m), Plaintiffs’ counsel discussed this motion with opposing counsel in a good-faith effort to

determine whether there was any opposition and to narrow the areas of disagreement, and

opposing counsel indicated that Defendants’ oppose the motion.

       In support of this motion, Plaintiffs submit a supporting memorandum of points and

authorities and state as follows:

       1.       Dr. Green is an Assistant Professor of computer science and applied cryptography

at the Johns Hopkins Information Security Institute. He studies the security of computer systems

and teaches others to do the same, in order to improve the safety and security of those who rely

upon computers. Dr. Green seeks to research and publish a book on computer security research

that would teach readers—using instructions written in English and in software languages—how

to circumvent technological protections in order to discover and fix security flaws in computer

systems. But the publication of Dr. Green’s book is restricted by the DMCA’s anti-trafficking

rule, 17 U.S.C. § 1201(a)(2).

       2.       Dr. Huang is an engineer with a Ph.D from the Massachusetts Institute of

Technology. He owns several small businesses, including Alphamax, and is a Research Affiliate

of the MIT Media Lab. Dr. Huang and Alphamax seek to research, develop, use, and publish

software and hardware for transforming and manipulating videos that requires them to work

around a video content protection measure called HDCP. But the research and development of

that software and hardware is restricted by the DMCA’s anti-circumvention rule, 17 U.S.C. §

1201(a)(1)(A), and the use and publication of those products is restricted by the DMCA’s anti-

                                               -2-
MOT. FOR PRELIMINARY INJUNCTION
CASE NO. 16-CV-01492-EGS
             Case 1:16-cv-01492-EGS Document 30 Filed 09/19/19 Page 3 of 4




trafficking rule, 17 U.S.C. § 1201(a)(2).

        3.       Plaintiffs are likely to prevail on the merits of their First Amendment claims. The

anti-trafficking rule violates the First Amendment as applied to Dr. Green’s book. The anti-

circumvention rule violates the First Amendment as applied to Dr. Huang and Alphamax’s

research and development of their software and hardware. The anti-trafficking rule violates the

First Amendment as applied to Dr. Huang and Alphamax’s use and publication of their software

and hardware.

        4.       Plaintiffs also maintain that they are likely to prevail on the merits of their

dismissed claims and issues, including their claim that the anti-circumvention and anti-

trafficking provisions of the DMCA are facially overbroad, that the provisions should be

reviewed under strict scrutiny, and that defendants Library of Congress, Carla Hayden, U.S.

Copyright Office, and Karyn A. Temple (collectively “Rulemaking Defendants”) have violated

the Administrative Procedure Act.

        4.       Plaintiffs satisfy the other prerequisites for a preliminary injunction. They are

likely to suffer irreparable harm, the balance of the equities tip in their favor, and an injunction is

in the public interest.

        WHEREFORE, Plaintiffs respectfully request that this Court enter a preliminary

injunction:

        1.       Enjoining defendants DOJ and Barr from enforcing the criminal prohibitions on

circumvention and trafficking; and

        2.       Enjoining defendants DOJ and Barr from enforcing the criminal prohibitions on

trafficking against Dr. Green; and

        3.       Enjoining defendants DOJ and Barr from enforcing the criminal prohibitions on

                                                 -3-
MOT. FOR PRELIMINARY INJUNCTION
CASE NO. 16-CV-01492-EGS
            Case 1:16-cv-01492-EGS Document 30 Filed 09/19/19 Page 4 of 4




circumvention and trafficking against Dr. Huang and Alphamax; and

       4.       Enjoining defendant Carla Hayden to grant exemptions to the criminal

prohibitions on circumvention that would allow Dr. Green, Dr. Huang, Alphamax, and others to

engage in conduct protected by the First Amendment.


DATED: September 19, 2019

                                                             Respectfully submitted by:


                                                                  /s/ Brian M. Willen
                                                             Brian M. Willen

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                                                 -4-
MOT. FOR PRELIMINARY INJUNCTION
CASE NO. 16-CV-01492-EGS
